Case 2:15-cv-07728-PSG-PLA Document 84 Filed 01/12/18 Page 1 of 12 Page ID #:858



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    6
    7   Plaintiffs’ Counsel

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    9
   10                          UNITED STATES DISTRICT COURT
   11                         CENTRAL DISTRICT OF CALIFORNIA
   12
   13   MITRA ERAMI, MARIA                      Case No.: 2:15-cv-07728-PSG-PLA
        MCGLYNN, BRITTANY SANCHEZ,
   14   individually and on behalf of other     THIRD AMENDED COMPLAINT
   15   members of the general public similarly
        situated,                               [CLASS ACTION]
   16
                    Plaintiffs,       1. Labor Code §§ 510, 1194
   17         vs.                     2. B&P § 17200 - Overtime
   18                                 3. B&P § 17200 – Meal and Rest
        JPMORGAN CHASE BANK, National Breaks
   19   Association,                  4. B&P 17200 – Injunction/Dec. Relief
                                      5. Labor Code § 203
   20                Defendant.       6. Labor Code § 226, 1174, 1174.5
                                      7. Labor Code § 2699 et seq.
   21                                 8. 29 U.S.C. § 216(b)
   22
                                                 JURY TRIAL DEMANDED
   23
   24
   25
   26
   27
   28

                                                           THIRD AMENDED COMPLAINT
                                                                  2:15-cv-07728-PSG-PLA
                                                                        [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 84 Filed 01/12/18 Page 2 of 12 Page ID #:859



    1                              GENERAL ALLEGATIONS
    2         1.     Plaintiff Mitra Erami was an Assistant Branch Manager for defendant
    3   JPMorgan Chase Bank, National Association (“Defendant”) in Alameda County,
    4   California, within the last three years of the filing of the original complaint in this
    5   action.
    6         2.     Plaintiff Maria McGlynn was an Assistant Branch Manager for
    7   Defendant in San Diego County, California, within the last three years of the
    8   filing of the original complaint in this action and within a year from the filing of
    9   this Second Amended Complaint.
   10         3.     Plaintiff Brittany Sanchez was an Assistant Branch Manager for
   11   Defendant in Santa Barbara County and Ventura County, California, within the
   12   last three years of the filing of the original complaint in this action and within a
   13   year of the filing of this Second Amended Complaint.
   14         4.     Defendant Chase Bank is a wholly owned subsidiary of JPMorgan
   15   Chase &Co. Defendant is a bank that owns and operates retail banks in this
   16   judicial district and in the state of California. Defendant has employees with the
   17   title “Assistant Branch Manager.”
   18         5.     Venue is proper in the Central District of California as at least some
   19   of the acts complained of herein occurred in the Central District of California as
   20   Defendant owns and operates banks in the Central District of California. Venue
   21   was established in this judicial district as a result of a motion to transfer due to a
   22   related case then pending in this judicial district.
   23         6.     At all times herein mentioned, Plaintiffs and the class identified
   24   herein worked as employees for Defendant in salaried positions in Defendant’s
   25   branch and retail locations under the business name “Chase.” At all times herein
   26   mentioned, Plaintiffs and the class have been, and continue to be, domiciled in the
   27   state of California.
   28         7.     At all times herein mentioned Defendant is a business entity licensed
                                                   1
                                                                   THIRD AMENDED COMPLAINT
                                                                          2:15-cv-07728-PSG-PLA
                                                                                [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 84 Filed 01/12/18 Page 3 of 12 Page ID #:860



    1   to do business and actually doing business in the Central District of California.
    2   Defendant owns and operates an industry, business and establishment in a number
    3   of separate geographic locations within the State of California, including within
    4   the Central District of California, for the purpose of selling banking services and
    5   products. As such, and based upon all the facts and circumstances incident to
    6   Defendant’s business in California, Defendant is subject to California Labor Code
    7   §§ 1194 et seq., California Business and Professions Code § 17200 et seq., (Unfair
    8   Practices Act), the applicable Industrial Welfare Commission Wage Orders, and
    9   Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201 et                  seq.
   10   (“FLSA”).
   11         8.     Plaintiffs do not know the true names or capacities, whether
   12   individual, partner or corporate, of other possible responsible parties and Plaintiffs
   13   pray leave to amend this complaint when the true names and capacities are known.
   14   Each of the other potentially responsible parties were responsible in some way for
   15   the matters alleged herein and proximately caused Plaintiffs and members of the
   16   class to be subject to the illegal employment practices, wrongs and injuries
   17   complained of herein.
   18                             FACTUAL ALLEGATIONS
   19         9.     Pursuant to California Labor Code §§ 218, 218.6, and 1194, Plaintiffs
   20   may bring a civil action for overtime wages directly against the employer without
   21   first filing a claim with the California Division of Labor Standards Enforcement
   22   and may recover such wages, together with interest thereon, penalties, attorney
   23   fees and costs.
   24         10.    Plaintiffs and all members of the class identified herein were
   25   regularly scheduled as a matter of uniform company policy to work and in fact
   26   worked as salaried bank employees in excess of eight hours per workday and/or in
   27   excess of forty hours per workweek without receiving straight time or overtime
   28   compensation for such overtime hours worked in violation of California Labor
                                                  2
                                                                   THIRD AMENDED COMPLAINT
                                                                          2:15-cv-07728-PSG-PLA
                                                                                [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 84 Filed 01/12/18 Page 4 of 12 Page ID #:861



    1   Code §§ 510, 1194 and California Industrial Welfare Commission Wage Order 4-
    2   2001.     Defendant has failed to meet the requirements for establishing the
    3   exemption because all class members (a) regularly spent more than 50% of their
    4   time performing nonexempt work, (b) did not customarily and regularly exercise
    5   discretion and independent judgment on matters of significance, (c) did not have
    6   the authority to hire or fire or make meaningful recommendations regarding same,
    7   (d) did not customarily and regularly supervise at least two employees or the
    8   equivalent, (e) did not perform work directly related to the management policies
    9   or the general business operations of Defendant or Defendant’s customers, (f) did
   10   perform nonexempt production and/or sales work a majority of their time (i.e., in
   11   excess of 50%) consistent with Defendant’s realistic expectations, (g) did not
   12   customarily and regularly spend more than 50% of their time away from the
   13   Defendant’s places of business selling or obtaining orders or contracts, and (h) did
   14   not earn more than 50% of their compensation in a bona fide commission plan.
   15   Thus, Plaintiffs and the class members were not exempt from the overtime
   16   requirements of California law for these reasons.
   17                                CLASS ALLEGATIONS
   18           11.   This complaint is brought by Plaintiffs pursuant to Federal Rule of
   19   Civil Procedure 23 and California Code of Civil Procedure § 382 on behalf of a
   20   class. All claims alleged herein arise under California law for which Plaintiffs
   21   seek relief authorized under California law.        The class is comprised of, and
   22   defined as:
   23                 All current and former California based employees of
                      JPMorgan Chase Bank, National Association, with the
   24
                      title “Assistant Branch Manager” who worked at any
   25                 time from February 25, 2011 up to the time of
                      certification.
   26
                Plaintiffs also allege an FLSA sub-class comprised of, and defined as:
   27
                      All current and former California based employees of
   28
                      JPMorgan Chase Bank, National Association, with the
                                                  3
                                                                  THIRD AMENDED COMPLAINT
                                                                         2:15-cv-07728-PSG-PLA
                                                                               [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 84 Filed 01/12/18 Page 5 of 12 Page ID #:862



    1                title “Assistant Branch Manager” who worked at any
                     time from February 25, 2012 up to the time of
    2
                     certification.
    3
              12.    The members of the classes are so numerous that joinder of all
    4
        members is impracticable. The exact number of the members of the classes can
    5
        be determined by reviewing Defendant’s records.
    6
              13.    Plaintiffs will fairly and adequately protect the interests of the class
    7
        and have retained counsel that is experienced and competent in class action and
    8
        employment litigation. Plaintiff has no interests that are contrary to, or in conflict
    9
        with, members of the class.
   10
              14.    A class action suit, such as the instant one, is superior to other
   11
        available means for fair and efficient adjudication of this lawsuit. The damages
   12
        suffered by individual members of the class may be relatively small when
   13
        compared to the expense and burden of litigation, making it virtually impossible
   14
        for members of the class to individually seek redress for the wrongs done to them.
   15
              15.    A class action is, therefore, superior to other available methods for
   16
        the fair and efficient adjudication of the controversy. Absent these actions, the
   17
        members of the class likely will not obtain redress of their injuries and Defendant
   18
        will retain the proceeds of its violations of California law.
   19
              16.    Even if any member of the class could afford individual litigation
   20
        against Defendant, it would be unduly burdensome to the judicial system.
   21
        Concentrating this litigation in one forum will promote judicial economy and
   22
        parity among the claims of individual members of the class and provide for
   23
        judicial consistency.
   24
              17.    There is a well-defined community of interest in the questions of law
   25
        and fact affecting the Class as a whole. Questions of law and fact common to
   26
        each of the class predominate over any questions affecting solely individual
   27
        members of the action. Among the common questions of law and fact are:
   28
                                                   4
                                                                    THIRD AMENDED COMPLAINT
                                                                           2:15-cv-07728-PSG-PLA
                                                                                 [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 84 Filed 01/12/18 Page 6 of 12 Page ID #:863



    1                 a.    Whether the class has been properly classified as exempt by
    2   Defendant from overtime compensation;
    3                 b.    Whether the class is expected to regularly work hours in excess
    4   of forty per week and/or in excess of eight hours per day;
    5                 c.    How the class is compensated; and,
    6                 d.    Whether the class has sustained damages and, if so, what the
    7   proper measure of damages is.
    8                             FIRST CAUSE OF ACTION
    9                               (Labor Code §§ 510, 1194)
   10           18.   Plaintiffs incorporate the allegations contained in the previous
   11   paragraphs of this Complaint as if fully set forth herein.
   12           19.   California Wage Order 4-2001, 8 C.C.R. § 11040, and Labor Code §
   13   510 state that an employee must be paid overtime, equal to 1.5 times the
   14   employee’s regular rate of pay, for all hours worked in excess of 40 per week
   15   and/or 8 per day.
   16           20.   Class members regularly work more than 40 hours per week and/or 8
   17   hours per day but are not paid overtime.
   18           21.   Class members do not meet any of the tests for exempt status under
   19   the California Wage Orders and/or the California Labor Code.
   20           22.   Plaintiffs and the class seek their unpaid overtime wages including
   21   interest thereon and reasonable attorneys’ fees and costs pursuant to Labor Code §
   22   1194.
   23                            SECOND CAUSE OF ACTION
   24                       (Bus. & Prof. Code § 17203 – Overtime)
   25           23.   Plaintiffs incorporate the allegations contained in the previous
   26   paragraphs of this Complaint as if fully set forth herein.
   27           24.   Defendant has committed an act of unfair competition under
   28   California Business & Professions Code § 17200 et seq. by not paying the
                                                   5
                                                                     THIRD AMENDED COMPLAINT
                                                                            2:15-cv-07728-PSG-PLA
                                                                                  [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 84 Filed 01/12/18 Page 7 of 12 Page ID #:864



    1   required state law overtime pay to the members of the class.
    2         25.    Pursuant to Bus. & Prof. Code § 17203, Plaintiffs request an order
    3   requiring Defendant to make restitution of all overtime wages due to the class.
    4                             THIRD CAUSE OF ACTION
    5                (Bus. & Prof. Code § 17203 – Meal and Rest Breaks)
    6         26.    Plaintiffs incorporate the allegations contained in the previous
    7   paragraphs of this Complaint as if fully set forth herein.
    8         27.    In violation of Labor Code § 512 and IWC Wage Order 4-2001,
    9   Defendant failed to provide and document meal and rest period breaks for the
   10   class in the number, length and manner as required. At no time have the Plaintiffs
   11   or the class entered into any written agreement with Defendant expressly or
   12   impliedly waiving their right to their meal and rest breaks. Plaintiffs and the class
   13   have been injured by Defendant’s failure to comply with Labor Code § 512 and
   14   IWC Wage Order 4-2001 and are thus entitled to the wages set forth in Labor
   15   Code § 226.7 and IWC Wage Order 4-2001 §§ 11 and 12.
   16         28.    Pursuant to Bus. & Prof. Code § 17203, Plaintiffs request Defendant
   17   make restitution of all wages due to the class under this Third Cause of Action.
   18                            FOURTH CAUSE OF ACTION
   19          (Bus. & Prof. Code § 17203 – Injunction and Declaratory Relief)
   20         29.    Plaintiffs incorporate the allegations contained in the previous
   21   paragraphs of this Complaint as if fully set forth herein.
   22         30.    Plaintiffs, and all persons similarly situated, are further entitled to
   23   and do seek a both a declaration that the above-described business practices are
   24   unfair, unlawful and/or fraudulent and injunctive relief restraining Defendant from
   25   engaging in any of such business practices in the future. Such misconduct by
   26   Defendant, unless and until enjoined and restrained by order of this Court, will
   27   cause great and irreparable injury to all members of the class in that the Defendant
   28   will continue to violate California law, represented by labor statutes and IWC
                                                  6
                                                                     THIRD AMENDED COMPLAINT
                                                                            2:15-cv-07728-PSG-PLA
                                                                                  [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 84 Filed 01/12/18 Page 8 of 12 Page ID #:865



    1   Wage Orders, unless specifically ordered to comply with same. This expectation
    2   of future violations will require current and future employees to repeatedly and
    3   continuously seek legal redress in order to gain compensation to which they are
    4   entitled under California law. Plaintiffs have no other adequate remedy at law to
    5   insure future compliance with the California labor laws and wage orders alleged to
    6   have been violated herein.
    7                             FIFTH CAUSE OF ACTION
    8                                   (Labor Code § 203)
    9         31.    Plaintiffs incorporate the allegations contained in the previous
   10   paragraphs of this Complaint as if fully set forth herein.
   11         32.    Plaintiffs and the class were discharged by Defendant or voluntarily
   12   quit, and did not have a written contract for employment. The Defendant, in
   13   violation of California Labor Code §§ 201 and 202 et seq. had a consistent and
   14   uniform policy, practice and procedure of willfully failing to pay the earned and
   15   unpaid wages of all such former employees. The Defendant has willfully failed to
   16   pay the earned and unpaid wages of such individuals, including, but not limited to,
   17   straight time, overtime, vacation time, meal and rest wages, and other wages
   18   earned and remaining uncompensated according to amendment or proof.
   19   Plaintiffs and the class did not secret or absent themselves from Defendant nor
   20   refuse to accept the earned and unpaid wages from Defendant. Accordingly,
   21   Defendant is liable for waiting time penalties for the unpaid wages pursuant to
   22   California Labor Code § 203.
   23                             SIXTH CAUSE OF ACTION
   24                        (Labor Code §§ 226, 1174, and 1174.5)
   25         33.    Plaintiffs incorporate the allegations contained in the previous
   26   paragraphs of this Complaint as if fully set forth herein.
   27         34.    Defendant, as a matter of corporate policy did not maintain or
   28   provide accurate itemized statements in violation of Labor Code §§ 226 and 1174.
                                                  7
                                                                     THIRD AMENDED COMPLAINT
                                                                            2:15-cv-07728-PSG-PLA
                                                                                  [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 84 Filed 01/12/18 Page 9 of 12 Page ID #:866



    1         35.      For instance, Defendant did not state or did not accurately state, inter
    2   alia, the total hours worked, hours worked daily, or the actual hourly rate of
    3   Plaintiffs and other Assistant Branch Managers in their pay statements.
    4   Defendant’s failure to maintain accurate itemized statements was willful,
    5   knowing, intentional, and the result of Defendant’s custom, habit, pattern and
    6   practice. Defendant’s failure to maintain accurate itemized statements was not the
    7   result of isolated, sporadic or unintentional behavior. Due to Defendant’s failure
    8   to comply with the requirements of Labor Code §§ 226 and 1174, Plaintiffs and
    9   other Assistant Branch Managers were injured thereby.
   10         36.      Such a pattern and practice as alleged herein is unlawful and creates
   11   an entitlement to recovery by Plaintiffs and the class identified herein for all
   12   damages and penalties pursuant to Labor Code §§ 226 and 1174.5, including
   13   interest thereon, penalties, attorneys’ fees and costs.
   14                             SEVENTH CAUSE OF ACTION
   15                                (Labor Code § 2699 et seq.)
   16         37.      Plaintiffs incorporate the allegations contained in the previous
   17   paragraphs of this Complaint as if fully set forth herein.
   18         38.      As alleged above, Defendant failed to comply with the California
   19   Labor Code. As such, Plaintiffs are “aggrieved employees” as defined in Labor
   20   Code § 2699(a).       Pursuant to Labor Code § 2699, the Labor Code Private
   21   Attorneys General Act of 2004, Plaintiffs bring this action on behalf of themselves
   22   and other current and former Assistant Branch Managers against JP Morgan
   23   Chase Bank, National Association and seeks recovery of applicable civil penalties
   24   as follows:
   25               a. where civil penalties are specifically provided in the Labor Code for
                    each of the violations alleged herein, Plaintiffs seek recovery of such
   26
                    penalties;
   27
                    b. where civil penalties are not established in the Labor Code for each
   28               of the violations alleged herein, Plaintiffs seek recovery of the penalties
                                                    8
                                                                     THIRD AMENDED COMPLAINT
                                                                            2:15-cv-07728-PSG-PLA
                                                                                  [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 84 Filed 01/12/18 Page 10 of 12 Page ID #:867



     1               established in § 2699(e) of the Labor Code Private Attorneys General
                     Act of 2004, and in accordance with § 200.5 of the Labor Code.
     2
     3         39.     On February 26, 2015, Plaintiff Erami caused to be served written
     4   notice via certified mail to the Labor and Workforce Development Agency and to
     5   Defendant JP Morgan Chase Bank, National Association of Plaintiff’s intent to
     6   amend the complaint to add a cause of action pursuant to Labor Code § 2699 et
     7   seq. Included with the notice was the original complaint. Plaintiff did not receive
     8   a response from the LWDA of Plaintiff’s certified letter within the time proscribed
     9   by Labor Code § 2699.3.
    10         40.     On February 1, 2016, Plaintiffs McGlynn and Sanchez caused to be
    11   served written notice via certified mail to the Labor and Workforce Development
    12   Agency and to Defendant JP Morgan Chase Bank, National Association of
    13   Plaintiffs’ intent to amend the complaint to add additional named plaintiffs
    14   seeking relief pursuant to Labor Code § 2699 et seq. Included with the notice was
    15   the proposed Second Amended Complaint. Plaintiffs did not receive a response
    16   from the LWDA of Plaintiffs’ certified letter within the time prescribed by Labor
    17   Code § 2699.3.
    18                            EIGHTH CAUSE OF ACTION
    19                                (29 U.S.C. § 201 et seq.)
    20         41.     Plaintiffs incorporate the allegations contained in the previous
    21   paragraphs of this Complaint as if fully set forth herein.
    22         42.     At all relevant times, Defendant has been and continues to be, an
    23   employer engaged in interstate commerce and/or the production of goods for
    24   commerce, within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).
    25         43.     At all relevant times, Defendant employed, and/or continues to
    26   employ, Plaintiffs and each member of the FLSA sub-class within the meaning of
    27   the FLSA.
    28         44.     As alleged above, Defendant had a policy and practice of failing to

                                                   9
                                                                      THIRD AMENDED COMPLAINT
                                                                             2:15-cv-07728-PSG-PLA
                                                                                   [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 84 Filed 01/12/18 Page 11 of 12 Page ID #:868



     1   properly pay overtime compensation to its Assistant Branch Managers for the
     2   hours worked in excess of forty hours per week.
     3          45.   Defendant’s failure to pay Plaintiffs and all other members of the
     4   FLSA sub-class for overtime compensation at a rate not less than one and one-half
     5   times their regular rate for work performed beyond the 40 hour workweek is in
     6   violation of 29 U.S.C. §§ 206, 207.
     7          46.   The foregoing conduct, as alleged, constitutes a willful violation of
     8   the FLSA within the meaning 29 U.S.C. § 255(a).
     9          47.   Due to the Defendant’s FLSA violations, Plaintiffs, on behalf of the
    10   members of the FLSA sub-class, are entitled to recover from Defendant unpaid
    11   overtime compensation, an additional amount equal as liquidated damages,
    12   reasonable attorneys’ fees, and costs pursuant to 29 U.S.C. § 216(b).
    13                                PRAYER FOR RELIEF
    14          WHEREFORE, Plaintiffs, on their own behalf and on behalf of the
    15   members of the class, pray for judgment as follows:
    16          1.    For an order certifying the proposed class and sub-class;
    17          2.    For damages, penalties, restitution, attorney fees and injunctive relief;
    18   and,
    19          3.    For prejudgment interest.
    20
    21   Dated: January 12, 2018                  WYNNE LAW FIRM
    22
                                                  By:        /s/Edward J. Wynne
    23
                                                  Edward J. Wynne
    24                                            80 E. Sir Francis Drake Blvd., Suite 3G
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                                                  Counsel for Plaintiffs
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                                                                    THIRD AMENDED COMPLAINT
                                                                           2:15-cv-07728-PSG-PLA
                                                                                 [CLASS ACTION]
Case 2:15-cv-07728-PSG-PLA Document 84 Filed 01/12/18 Page 12 of 12 Page ID #:869



     1                                   JURY DEMAND
     2        Plaintiffs hereby request a jury trial on all issues so triable.
     3
     4   Dated: January 12, 2018                WYNNE LAW FIRM
     5
                                                By:        /s/Edward J. Wynne
     6
                                                Edward J. Wynne
     7                                          80 E. Sir Francis Drake Blvd., Suite 3G
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                                                Counsel for Plaintiffs
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                                                                     THIRD AMENDED COMPLAINT
                                                                            2:15-cv-07728-PSG-PLA
                                                                                  [CLASS ACTION]
